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     ATHANASIOS DIMOU
6

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8                                  UNITED STATES DISTRICT COURT

9                                  EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                       Case No.: 2:16-CR-133 TLN
12
                      Plaintiff,
13
     vs.                                             REQUEST TO FILE DOCUMENTS UNDER
14                                                   SEAL; ORDER
     ATHANASIOS DIMOU,
15                                                   Date: November 7, 2019
                      Defendant.                     Time: 2:00 p.m.
16
                                                     Court: Hon. Kendall J. Newman
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            Pursuant to Local Rule 14(b) and based upon the representations contained in
21
     Defendant’s Request to Seal, IT IS SO FOUND AND ORDERED THAT, the
22
     DECLARATIONS OF INVESTIGATOR FRED SCOVILLE AND MARY WATSON IN
23
     SUPPORT OF A MOTION FOR TEMPORARY RELEASE, shall be sealed until further order
24
     of this Court.
25
     Dated: November 7, 2019
26

27

28   PROPOSED ORDER TO SEAL
